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UNITED STATES DISTRICT COURK JU. [4 PM
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

   

VENUS FASHION, INC.,

V.
Civil Action No.:
CONTEXTLOGIC INC., and Honorable:
WISH, INC.,
Defendants.
/

 

LOCAL RULE 2.02(a) WRITTEN DESIGNATION AND
CONSENT-TO-ACT BY NON-RESIDENT ATTORNEY

Pursuant to Local Rule 2.02(a) for the United States District Court for the Middle District
of Florida, non-resident attorney Aaron D. Charfoos hereby files this Written Designation and
Consent-to-Act and states as follows:

1. Aaron D. Charfoos is an attorney with the law firm of Dykema Gossett PLLC, 10
S. Wacker Drive, Suite 2300, Chicago, IL 60606; Telephone: (312) 876-1700; Fax: (312) 876-
1155; e-mail: acharfoos@dykema.com.

2. Aaron D. Charfoos is a member in good standing of the State Bar of Illinois and
has never been disciplined by this court, nor by any other courts or bars whatsoever.

3 Aaron D. Charfoos has not appeared frequently or regularly in cases pending
before the United States District Court for the Middle District of Florida.

4. Aaron D. Charfoos hereby designates the following members of the bar of the
United States District Court for the Middle District of Florida, who reside in Florida, to receive
all notices and papers for him and who shall be responsible for the progress of the case, including

the trial in case of his default: Peter A. Chiabotti, Akerman LLP, 777 South Flagler Drive, Suite

{38688900;1}
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1100 West Tower, West Palm Beach, FL 33401 and David E. Otero, Akerman LLP, 50 N.

Laura Street, Suite 3100, Jacksonville, FL 32202.
Si Peter A. Chiabotti and David E. Otero are resident members in good standing of
the Florida Bar and this Court, and accept the designation pursuant to Local Rule 2.02(a) and all

responsibilities assigned therein.

6. Aaron D. Charfoos is familiar with the local rules of this Court and the Code of
Professional Responsibility and other ethical limitations and requirements governing the

professional behavior of members of The Florida Bar.

7. Aaron D. Charfoos certifies that he has complied with the fee and e-mail

registration requirements of Local Rule 2.02(a).

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Dated: July 14, 2016

{38688900:1}

Respectfully submitted,

/s/ Peter A. Chiabotti
Allan Gabriel

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